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8
                                       UNITED STATES DISTRICT COURT
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                                       EASTERN DISTRICT OF CALIFORNIA
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      SECURITIES AND EXCHANGE COMMISSION,                          Case No. 2:19-cv-2140-MCE-AC
12
                                            Plaintiff,
13
                                  v.
14
      JOSEPH BAYLISS and RONALD ROACH,
15
                                            Defendants.
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17
                               JUDGMENT OF PERMANENT INJUNCTION
18                              AS TO DEFENDANT RONALD J. ROACH

19          The Securities and Exchange Commission having filed a Complaint and Defendant Ronald

20   J. Roach (“Defendant”) having entered a general appearance; consented to the Court’s jurisdiction

21   over Defendant and the subject matter of this action; consented to entry of this Judgment; waived

22   findings of fact and conclusions of law; and waived any right to appeal from this Judgment:

23                                                        I.

24          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is permanently

25   restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities

26   Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated

27   thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of interstate commerce,

28   or of the mails, or of any facility of any national securities exchange, in connection with the
       Judgment of Permanent Injunction
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1    purchase or sale of any security:

2            (a)     to employ any device, scheme, or artifice to defraud;

3            (b)     to make any untrue statement of a material fact or to omit to state a material fact

4                    necessary in order to make the statements made, in the light of the circumstances

5                    under which they were made, not misleading; or

6            (c)     to engage in any act, practice, or course of business which operates or would

7                    operate as a fraud or deceit upon any person.

8            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

9    Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive

10   actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers, agents,

11   servants, employees, and attorneys; and (b) other persons in active concert or participation with

12   Defendant or with anyone described in (a).

13                                                      II.

14           IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

15   permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933 (the

16   “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any means or

17   instruments of transportation or communication in interstate commerce or by use of the mails,

18   directly or indirectly:

19           (a)     to employ any device, scheme, or artifice to defraud;

20           (b)     to obtain money or property by means of any untrue statement of a material fact       or

21           any omission of a material fact necessary in order to make the statements made, in light of

22           the circumstances under which they were made, not misleading;         or

23           (c)     to engage in any transaction, practice, or course of business which operates or

24                   would operate as a fraud or deceit upon the purchaser.

25           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

26   Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive

27   actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers, agents,

28   servants, employees, and attorneys; and (b) other persons in active concert or participation with
       Judgment of Permanent Injunction
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1    Defendant or with anyone described in (a).

2                                                      III.

3               IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that the Court

4    shall determine the amounts of any disgorgement of ill-gotten gains, prejudgment interest thereon,

5    and civil penalty or penalties pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)]

6    and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)], upon later motion of the

7    Commission, if any. Prejudgment interest shall be calculated from October 15, 2014, based on the

8    rate of interest used by the Internal Revenue Service for the underpayment of federal income tax as

9    set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for disgorgement

10   and/or civil penalty or penalties, and at any hearing held on such a motion: (a) Defendant will be

11   precluded from arguing that he did not violate the federal securities laws as alleged in the

12   Complaint; (b) Defendant may not challenge the validity of the Consent or this Judgment; (c) solely

13   for the purposes of such motion, the allegations of the Complaint shall be accepted as and deemed

14   true by the Court; and (d) the Court may determine the issues raised in the motion on the basis of

15   affidavits, declarations, excerpts of sworn deposition or investigative testimony, and documentary

16   evidence, without regard to the standards for summary judgment contained in Rule 56(c) of the

17   Federal Rules of Civil Procedure. In connection with the Commission’s motion for disgorgement

18   and/or civil penalties, the parties may take discovery, including discovery from appropriate non-

19   parties.

20                                                     IV.

21              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

22   incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

23   shall comply with all of the undertakings and agreements set forth therein.

24                                                     V.

25              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

26   exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

27   allegations in the complaint are true and admitted by Defendant, and further, any debt for

28   disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this
       Judgment of Permanent Injunction
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1    Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

2    connection with this proceeding, is a debt for the violation by Defendant of the federal securities

3    laws or any regulation or order issued under such laws, as set forth in Section 523(a)(19) of the

4    Bankruptcy Code, 11 U.S.C. §523(a)(19).

5                                                     VI.

6           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

7    jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

8                                                     VII.

9           There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

10   Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

11          IT IS SO ORDERED.

12   DATED: November 19, 2019

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                                                    _______________________________________
15                                                  MORRISON C. ENGLAND, JR.
                                                    UNITED STATES DISTRICT JUDGE
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       Judgment of Permanent Injunction
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